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        EXHIBIT 5
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Monday, December 09, 2019, 11:31:28 AM

                                                   28769-00003_Kite



     Frohlich, Mark (Vol. 01) - 02/14/2019                                       1 CLIP (RUNNING 00:05:24.986)


        (Frohlich Exhibit 4 marked for ...

         FROHLICH                          12 SEGMENTS (RUNNING 00:05:24.986)

         1. PAGE 31:09 TO 31:21 (RUNNING 00:00:53.680)
                    09        Q.   The subject of this email says "mskcc
                    10   huCD19." What does that mean?
                    11        A.   My recollection is that this was a project
                    12   in which we were developing human binding domains as
                    13   opposed to murine-binding domains to CD19.
                    14        Q.   Was that in connection with MSKCC?
                    15        A.   The binders were generated at a company
                    16   that we subsequently acquired. And my recollection
                    17   is that we were collaborating with Michel Sadelain to
                    18   do some of the testing of these binders.
                    19        Q.   Was that company called Cross Body
                    20   Biosciences, or X-BODY Biosciences?
                    21        A.   X-BODY, yes, is my recollection.
         2. PAGE 37:04 TO 37:17 (RUNNING 00:00:41.435)
                    04             (Frohlich Exhibit 6 marked for
                    05       identification)
                    06        Q.   I've marked as Frohlich Exhibit 6 a
                    07   two-page email bearing Bates numbers JUNO01211510
                    08   through 512 and its associated attachment.
                    09             Do you have Exhibit 6 in front of you?
                    10        A.   I do.
                    11        Q.   In Exhibit 6, Ken Mohler sends Dr. Sadelain
                    12   a slide show presentation and cc.'s you; is that
                    13   correct?
                    14        A.   That appears to be the case.
                    15        Q.   The slide show presentation is from X-BODY
                    16   Sciences -- Biosciences? Excuse me.
                    17        A.   I see that.
         3. PAGE 38:01 TO 38:10 (RUNNING 00:00:29.720)
           00038:01           Q.   The title of the presentation is "Binding
                 02      and FMC63 vs JCAR15 Competition Profiles of Lead
                 03      Human anti-CD19 ScFvs"; is that right?
                 04           A.   That's what it says here.
                 05           Q.   Could you please turn to slide No. 4, and
                 06      let me know when you're there?
                 07           A.   The one labeled "CD19 ScFv Lead Candidate
                 08      Properties"?
                 09           Q.   You got it.
                 10           A.   Yes.
         4. PAGE 39:09 TO 40:05 (RUNNING 00:01:30.437)
                    09        Q.   Do you know why the program went on for a
                    10   number of months or even years?
                    11        A.   The goal was to generate fully human
                    12   binders to CD19 and to try to optimize those. And,
                    13   yeah, my recollection is that we had some trouble
                    14   with the technology in developing suitable binders.
                    15   And actually, ultimately, Juno decided to stop using
                    16   this particular platform technology for developing
                    17   binders.
                    18        Q.   The first four listed ScFvs have the same


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                 19      heavy variable chain; is that right?
                 20           A.   It appears to be the case, yes.
                 21           Q.   They differ in the amino acid sequence of
                 22      their light chain; is that right?
                 23           A.   That appears to be the case, yes.
                 24           Q.   The last two ScFvs that are listed are
                 25      FMC63 and JCAR15 respectively, correct?
           00040:01           A.   That's what it states, yes.
                 02           Q.   Looking at the amino acid sequences
                 03      corresponding to FMC63 and JCAR15, they each have
                 04      different light and heavy chains compared to each
                 05      other; is that right?
         5. PAGE 40:07 TO 40:09 (RUNNING 00:00:09.457)
                   07         A.   The heavy and light chains appear to be
                   08    distinct between FMC63 and JCAR15 as stated in this
                   09    table.
         6. PAGE 41:16 TO 41:19 (RUNNING 00:00:09.977)
                   16         Q.   To the best of your knowledge, is there any
                   17    way to predict the amino acid sequence of an ScFv
                   18    that will bind to a specific epitope on a specific
                   19    protein?
         7. PAGE 41:22 TO 42:01 (RUNNING 00:00:11.992)
                 22           A.   I'm not aware of there being algorithms to
                 23      help predict what those are, but I believe people are
                 24      working on those.
                 25           Q.   So at this point, it remains an empirical
           00042:01      science?
         8. PAGE 42:04 TO 42:06 (RUNNING 00:00:10.700)
                   04         A.   With -- with the current technology, in
                   05    general, one generates binders and then determines
                   06    what their sequences are as opposed to the converse.
         9. PAGE 61:01 TO 61:02 (RUNNING 00:00:06.691)
           00061:01                In your experience, the importance of the
                 02      linker is dependent upon the specific binder?
         10. PAGE 61:05 TO 61:09 (RUNNING 00:00:16.074)
                   05         A.   You know, the rules exactly by -- which can
                   06    predict, you know, which particular CAR is going to
                   07    work or not have not entirely been worked out. So
                   08    whether it's the binder or other features of the CAR,
                   09    I can't specify.
         11. PAGE 63:19 TO 63:23 (RUNNING 00:00:14.570)
                   19         Q.   Do you feel that you are not a scientist
                   20    specializing in this area?
                   21         A.   I would -- I would always rely in the
                   22    expertise of a biologist with more specific expertise
                   23    in this area.
         12. PAGE 172:12 TO 172:19 (RUNNING 00:00:30.253)
                   12         Q.   I've marked as Exhibit 22 a reproduction of
                   13    your LinkedIn bio. Does the reproduction of your
                   14    LinkedIn bio help you to determine whether or not you
                   15    were at Juno in May of 2017?
                   16         A.   Yeah. I was still employed in May of 2017.
                   17    However, I had kind of negotiated my departure, and
                   18    so I stopped attending some of the executive
                   19    committee meetings.
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